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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


      IOWA PUBLIC EMPLOYEES’
      RETIREMENT SYSTEM, et al.,                                  No. 17-cv-6221 (KPF)
                  Plaintiffs,
                                    v.
      BANK OF AMERICA CORPORATION, et al.,
                  Defendants.


   PLAINTIFFS’ RENEWED NOTICE OF MOTION FOR CLASS CERTIFICATION
                 AND APPOINTMENT OF CLASS COUNSEL

       PLEASE TAKE NOTICE that Plaintiffs, through their undersigned counsel, hereby

respectfully move this Court for an order pursuant to Rule 23 of the Federal Rules of Civil

Procedure certifying a proposed class and appointing Quinn Emanuel Urquhart & Sullivan, LLP

and Cohen Milstein Sellers & Toll PLLC as Co-Lead Counsel for the class. This motion is made

upon Plaintiffs’ previously-filed Memorandum of Law in Support of Plaintiffs’ Motion for Class

Certification and Appointment of Class Counsel (ECF 415), the Declarations of Daniel L.

Brockett (ECF 414) and Michael B. Eisenkraft (ECF 413) in support thereof, and the

accompanying Reply Memorandum of Law in Further Support Plaintiffs’ Motion for Class

Certification and Appointment of Class Counsel and the Declaration of Daniel L. Brockett, and

all papers and pleadings submitted therewith.

       Plaintiffs file this renewed notice of motion in compliance with this Court’s order dated

March 26, 2021 (ECF 417), which terminated, solely as an administrative measure, Plaintiffs’

original motion for class certification and ordered that Plaintiffs re-file their notice of motion

together with their reply papers.
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DATED:       October 5, 2021          Respectfully submitted,

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